     Case 2:23-cv-04291-HDV-E Document 70-1 Filed 07/05/23 Page 1 of 2 Page ID #:421




 1

 2

 3

 4

 5

 6

 7

 8
                               UNITED STATES DISTRICT COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
10

11
        Biomedical Device Consultants &               Case No. 2:23-cv-04291-HDV
12      Laboratories of Colorado, LLC,
13                     Plaintiff,
                                                      DECLARATION OF GREGORY
14               v.                                   S. TAMKIN
15      ViVitro Labs, Inc.
16                     Defendant.

17          I, Gregory S. Tamkin, hereby declare and state as follows:

18          1.        I am counsel of record for Plaintiff Biomedical Device Consultants &

19    Laboratories of Colorado, LLC in this matter.

20          2.        I submit this declaration in support of Plaintiff’s Application for

21    Expedited Hearing Date for Pending Motion for Preliminary Injunction. I have

22    personal knowledge of the facts herein, and if called as a witness, I could and

23    would testify competently thereto.

24          3.        On Friday, June 30, I informed Defendant’s counsel of BDC’s

25    intention to file an application for an expedited hearing on its pending motion for

26    preliminary injunction. Attached as Exhibit A is a true and correct copy of the

27    email chain between counsel for BDC and counsel for Defendant.

28
     Case 2:23-cv-04291-HDV-E Document 70-1 Filed 07/05/23 Page 2 of 2 Page ID #:422




 1          4.    On Monday morning, July 3, I attended a videoconference with my
 2    co-counsel Shannon Bjorklund, and with Defendant’s counsel Warren Thomas and
 3    John Harbin. During that call, I explained the basis for BDC’s request for a hearing
 4    date in early August and asked whether Defendant would oppose the request.
 5    Counsel for Defendant informed me that they would consider this request and
 6    respond by writing with their answer.
 7          5.    BDC also plans to raise this issue in the Joint Case Management
 8    Statement to be filed next week, but given the urgency of the issue and the heavy
 9    caseload assigned to Your Honor, we believed a separate application was prudent
10    and necessary.
11          6.    The afternoon of July 3, counsel for Defendant responded by email
12    and stated that they would oppose BDC’s request. See Exhibit A.
13          I declare under the penalty of perjury under the laws of the United States of
14    America that the foregoing is true and correct. Executed on July 5, 2023 in Denver,
15    Colorado.
16                                                 By: /s/ Gregory S. Tamkin
17                                                    Gregory S. Tamkin
18
19

20

21

22

23

24

25

26
27

28
      TAMKIN DECLARATION                       2                  NO. 2:23-CV-04291-HDV
